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     In the United States Court of Federal Claims
                                 No. 88-508L
                          (Filed: February 27, 2009)



**********************

THE NAVAJO NATION,

                      Plaintiff,                   Indian Trust Claim; Statute
                                                   of Limitations; Claim
v.                                                 A ccrual; T em porary
                                                   Regulatory Taking
THE UNITED STATES,

                      Defendant.

**********************



       Scott B. McElroy, M. Catherine Condon, Washington, D.C., and Peter J.
Osetek, Ann Arbor, MI, for plaintiff.

      William J. Shapiro, Mark S. Barron, Trial Attorneys, Civil Division,
Department of Justice, Washington, D.C., Ronald J. Tenpas, Assistant Attorney
General, Department of Justice, Washington, D.C., for defendant.


                                   _________

                                   OPINION
                                   _________


BRUGGINK, Judge.

       The Navajo Nation brings this action against the United States asserting
a constitutional taking and a breach of trust. The suit originates in the federal
government’s decades-long efforts to delineate reservation lands between the
Navajo and Hopi Tribes. These efforts were particularly difficult because the
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tribes have not occupied physically separated lands. They have co-occupied
some of the disputed lands. Plaintiff contends that these efforts resulted in
such severe restrictions on the use of its lands that the government breached
its fiduciary duties to the tribe and took its property on a temporary basis.

       Both of plaintiff’s claims stem from the same government action,
namely, the Department of the Interior’s (“DOI”) alleged misinterpretation of
the 1980 Amendment1 to the 1974 Settlement Act.2 The amendment, in
general terms, had the effect of forcing the two tribes to live with a stay in
place on the land pending the outcome of litigation resolving their respective
rights. In 1982, the Hopi adopted a moratorium against all Navajo
development proposals, including those relating to the repair and restoration
of dilapidated Navajo structures in the area affected by the 1980 Amendment.
Plaintiff argues that DOI’s alleged acquiescence in the Hopi moratorium
violated the government’s trust duties to the Navajo, or, alternatively, caused
a temporary taking of Navajo land and property.

       The action was stayed for several years at the parties’ joint request so
that collateral litigation could be terminated. That litigation ended on
December 4, 2006, triggering defendant’s motion. See Honyoama v. Shirley,
No. 74-842-PHX-EHC (D. Ariz. Dec. 4, 2006). Defendant argues that the
complaint should be dismissed pursuant to Rule 12(b)(1), Rule 12(b)(6) or
Rule 56 of the Rules of the United States Court of Federal Claims (“RCFC”)
either because it was filed too late or because it fails to state a claim upon
which relief can be granted. The court has subject matter jurisdiction pursuant
to the Tucker Act, 28 U.S.C. § 1491, and the Indian Tucker Act, 28 U.S.C. §
1505 (2000).

       Oral argument was held in Albuquerque, New Mexico on Thursday,
January 8, 2009. For the reasons discussed below, defendant’s motion for
summary judgment is granted with respect only to plaintiff’s breach of trust
claim. We defer ruling on defendant’s motion with respect to plaintiff’s
takings claim. Further briefing on the issue is outlined below.



       1
           Pub. L. No. 96-305, 94 Stat. 929 (codified at 25 U.S.C. § 640d–9(f)
(1980)).
       2
        Pub. L. No. 95-531, 88 Stat. 1712 (codified at 25 U.S.C. §§ 640d, et
seq. (1974)).

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                               BACKGROUND 3

       Accessing the dispute requires a recitation of the numerous treaties and
statutes underlying the creation of the Navajo and Hopi reservations as well as
the government’s ongoing trust responsibilities to the tribes.

The 1868 Navajo Reservation

       On June 1, 1868, President Andrew Johnson entered into a treaty with
the Navajo Nation, setting aside a parcel of land commonly knows as the
“1868 rectangle” for the “use and occupation of the Navajo tribe of Indians,
and for such other friendly tribes or individual Indians as from time to time
they may be willing, with the consent of the United States, to admit among
them.” Treaty with the Navajos, June 1, 1868, 15 Stat. 667.

        Other parcels of land were thereafter set apart for the Navajo through
executive orders and legislative actions, which served to expand the
reservation’s boundaries. See, e.g., Exec. Order of Oct. 29, 1878; Exec. Order
of Jan. 6, 1880; Exec. Order of May 17, 1884; Exec. Order of Jan. 8, 1900; Act
of May 23, 1930, 46 Stat. 378; Act of Feb. 14, 1931, 46 Stat. 1161 (codified
at 16 U.S.C. §§ 445 to 445b. In 1880, the Navajo reservation consisted of
approximately eight million acres, which, in turn, created the eastern border
of the reservation territory later granted by executive order to the Hopi in 1882.
See Healing v. Jones, 210 F. Supp. 125, 134-135 (D. Ariz. 1962). The Navajo
reservation also extended to the south and southwest of what would be the
1882 Hopi reservation, which is described below. Id.

1882 Hopi Reservation

         President Chester Arthur, on December 16, 1882, signed an executive
order establishing for the Hopi a reservation of approximately two-and-a-half
million acres in Arizona which is commonly known as the “1882 Reservation.”
In this treaty with the Hopi (formerly known as the “Moqui”), President Arthur
proclaimed that the 1882 Reservation was “for the use and occupation of the
Moqui and such other Indians as the Secretary of the Interior may see fit to



       3
         The facts are taken from the parties’ undisputed proposed findings of
fact and exhibits, as well as from prior reported decisions involving the tribes.


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settle thereon.” Treaty with the Hopi, Executive Orders Relating to Indian
Reservations: 1855-1922 (Dec. 16, 1882). The executive order of 1882,
however, did not include the Hopi village of Moenkopi, located to the west of
the reservation. The 1882 Reservation is located in the center of the map at
page five below and is marked with a rectangle outlined in black.

        As the Navajo had “used and occupied parts of the 1882 reservation .
. . from long prior to the creation of the reservation in 1882,” the 1882
Reservation later became the subject of quiet title litigation between the Hopi
and the Navajo. Healing, 210 F. Supp. at 144-45. In 1962, the United States
District Court for the District of Arizona (“district court”) determined that it
lacked jurisdiction to partition the jointly-held land (known commonly as the
“joint use area” or the “JUA”). Id. at 190. Instead, the district court held that
the two tribes had “joint, undivided, and equal interests in and to all of the
1882 reservation lying outside the boundaries of land management district 6
. . . .” Id. at 132. In 1972, the district court officially imposed a mutual
consent requirement between the tribes for proposed development on the area.
Hamilton v. MacDonald, Civ. 579-PCT (D. Ariz. 1972). The Hopi and the
Navajo engaged in litigation regarding their respective rights to the JUA for
decades after the mutual consent requirement was originally imposed. See
Jones v. Healing, 373 U.S. 758 (1963), aff’g, 210 F. Supp. 125 (D. Ariz.
1962); Clinton v. Babbitt, 180 F.3d 1081, 1083 n. 2 (9 th Cir. 1999);
Sekaquaptewa v. MacDonald, 626 F.2d 113, 115 n. 3 (9 th Cir. 1980). By 1934,
however, the 1882 Reservation was completely surrounded by the expansion
of Navajo lands. This expansion created an entirely new and distinct conflict
between the tribes, discussed below.

The 1934 Navajo Reservation Extension

        Congress extended the boundaries of the Navajo Reservation on June
14, 1934 and created a joint interest in these additional lands for the Navajo
and “such other Indians as may already be located thereon.” Act of June 14,
1934, ch. 521, 48 Stat. 960 (“1934 Act”). At the time, both Navajo and Hopi
tribal members lived on the land covered by the 1934 Act. See Hopi Tribe v.
United States, 55 Fed. Cl. 81, 83 (2002). The Hopi “lived in the Village of
Moenkopi and used adjacent areas in 1934, and were ‘such other Indians’
entitled to an equitable interest in the 1934 Reservation.” Masayesva v. Zah,
816 F. Supp. 1387, 1393 (D. Ariz. 1992). The map below depicts the Navajo
and Hopi Reservations as they currently exist. The expanded 1934 Navajo
Reservation is depicted in light-red and medium-red as the lands surrounding

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the 1882 Executive Order. The Hopi village of Moenkopi and the Navajo
village of Tuba City are shown on the map in the medium-red area located just
west of the 1882 Reservation area.




1882 Reservation Area Litigation Effects on the 1934 Reservation Area

       On June 3, 1963, the Supreme Court affirmed the district court’s ruling
in Healing that the Navajo and the Hopi held the 1882 Reservation Area in
joint and common ownership. Healing, 373 U.S. at 758, aff’g, 210 F. Supp.
at 125. During the Healing litigation, the Hopi began to express concerns to
DOI regarding their rights to the 1934 lands. In 1966, based on the Supreme
Court’s ruling in Healing, DOI Commissioner of Indian Affairs
(“Commissioner”) Robert Bennett wrote a letter answering the Hopi concerns
about the 1934 Reservation Area to Navajo Area Director, Graham E. Holmes:

       The conflict between the Navajo and Hopi Tribes over their
       respective rights in the [1882 Reservation] was resolved by
       Healing v. Jones . . . . Thus, the ownership and rights in that
       particular area are forever settled insofar as this Bureau is
       presently concerned. All actions whatsoever taken by officials



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      of the Bureau . . . must be guided by the reality of common
      ownership.

      Another problem which has perplexed the Bureau for years is
      the administration of [the 1934 Reservation Area] . . . .

      ....

      It is evident that the Government can no longer continue to
      administer the area as though it were owned solely by the
      Navajo Tribe . . . . [I]t does not appear reasonable to administer
      the total of the reservation area in Arizona, confirmed by the Act
      of June 14, 1934, as though it were jointly owned by the Hopi
      and Navajo Tribes. Effective administration requires of me a
      prudent judgment.

      Therefore, the following instructions shall apply only to that
      portion of the [1934] Navajo Reservation lying west of the
      [1882 Reservation] . . . .

      ....

      . . . No action shall be taken by an official of the Bureau that
      does not take full cognizance of the undetermined rights and
      interests of the Hopi Indians in the said area. This will
      necessitate formal action by the Hopi as well as by the Navajo
      Tribe on all those cases which hypothecate the surface or
      subsurface resources for exploration, mining, rights-of-way,
      traders, or other use or occupancy authorized by permit, lease,
      or license.

Letter from Robert Bennett, Commissioner, to Graham E. Holmes, Navajo
Area Director, dated July 8, 1966.

        The mutual consent requirement set forth in Commissioner Bennett’s
letter for development in the 1934 Reservation Area became known as the
“Bennett Freeze.” The affected area is the portion of the 1934 Reservation
Area located directly west of the 1882 Reservation Area and is commonly
referred to as the “Bennett Freeze Area.” This includes the location of the



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Hopi village of Moenkopi and the Navajo village of Tuba City. The Bennett
Freeze Area is located on the above map in a medium-red color.

       DOI amended the Bennett Freeze in 1967 to allow unilateral approval
of public works projects by the DOI Commissioner. See Letter from Robert
Bennett, Commissioner, to Graham E. Holmes, Navajo Area Director, dated
Oct. 31, 1967. DOI simultaneously announced the approval of two new public
works projects– the Two Grey Hills School and the Tuba City Hospital. Id.
In 1970, however, DOI eliminated the 1967 public works project exception,
effectively reinstating the original mutual consent requirement of the Bennett
Freeze. See Letter from Acting Commissioner to Area Directors, dated Dec.
28, 1970.

        The policy changed again in 1972 when DOI Assistant Secretary of the
Interior, Harrison Loesch, wrote a letter exempting Moenkopi and Tuba City
from the mutual consent requirement. See Letter from Harrison Loesch, Asst.
Secretary of the Interior, to Peter MacDonald, Navajo Tribal Chairman, dated
Aug. 4, 1972; see also Letter from Deputy Commissioner to Area Directors,
dated Aug. 15, 1972. Thus, the Hopi Tribe could proceed with unilateral
development in the Moenkopi vicinity, and the Navajo were allowed to
develop without Hopi consent in Tuba City. Id.

        The Commissioner further modified the consent requirements in 1976
“in order to alleviate [the Freeze’s] harsh impact during the pendency of the
litigation” to permit an appeal to him of “any Navajo project . . . for which the
Hopi Tribe has specifically refused to grant its consent . . . or that failed to
consider granting its consent within 30 days after being requested to do so.”
Letter from Morris Thompson, Commissioner, to Chairman Peter MacDonald,
Navajo Chairman, dated July 16, 1976. The Commissioner’s purpose in the
modification was to reduce the “arbitrarily imposed obstacle to meeting
Navajo needs.” Id.

The 1974 Settlement Act

         Congress enacted legislation in 1974 which significantly impacted the
tribes’ competing interests in the 1934 Reservation Area. Pub. L. No. 93-531,
88 Stat. 1712 (codified at 25 U.S.C. §§ 640d to 640d-31 (1974)) (“1974
Settlement Act”). The 1974 Settlement Act “required members of each tribe
to move from lands partitioned to the other tribe by 1986 and created a
commission to pay for the major costs of such relocations.” Clinton, 180 F.3d

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at 1084 (citing 25 U.S.C. §§ 640d-11 to 640d-14). A lengthy and difficult
relocation program of more than 10,000 tribal members followed after a
district court order of partition. See id.

        Importantly for the present litigation, the 1974 Settlement Act also
authorized the tribes to bring suit against each other in district court to resolve
the dispute over rights within the 1934 Reservation Area. See 25 U.S.C. §
640d-3; see also Sekaquaptewa, 626 F.2d at 117-119. The authorized
litigation began in 1974 and did not end until 2006, when the district court
adopted a settlement agreement between the Navajo and the Hopi regarding
land remaining under the Bennett Freeze. Honyoama v. Shirley, No. 74-842-
PHX-EHC (D. Ariz. Dec. 4, 2006).

The 1980 Amendment to the 1974 Settlement Act

      Before the authorized litigation concluded, Congress in July 1980
amended the 1974 Settlement Act to codify the Bennett Freeze. See Pub. L.
No. 96-305, 94 Stat. 929 (codified at 25 U.S.C. § 640d-9(f) (1980)). In part,
the amendment stated:

       Any development of lands in litigation pursuant to section 8 of
       this Act . . . shall be carried out only upon the written consent of
       each tribe except for the limited areas around the village of
       Moenkopi and around Tuba City. Each such area has been
       heretofore designated by the Secretary. ‘Development’ as used
       herein shall mean any new construction or improvement to the
       property and further includes public work projects, power and
       water lines, public agency improvements, and associated rights-
       of-way.

Id. The purpose of the 1980 Amendment, like that of the original 1966
administrative freeze, was to “preserve the parties’ rights subject to a final
adjudication.” Masayesva, 816 F. Supp. at 1397.

       DOI’s Office of the Solicitor opined in June 1982 that the 1980
Amendment did not affect “ordinary maintenance and repair of existing
structures” but instead prohibited “all new developments or new construction.”
Memorandum from William D. Back, DOI Acting Field Solicitor, to
Superintendent, Western Navajo Agency, dated June 2, 1982. According to
DOI’s Bureau of Indian Affairs (“BIA”) Western Navajo Agency

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Superintendent, Mr. Wilbur Wilkinson, “the [Bennett] freeze primarily
impact[ed] the Navajo people as virtually all Hopis reside[d] in the Moencopi
area which [wa]s exempt from the freeze.”                Memorandum from
Superintendent, Western Navajo Agency, to Asst. Secretary- Indian Affairs,
dated June 17, 1986. The 1980 Amendment did not provide for the possibility
of appeal to the DOI Secretary of the Interior in cases in which the Hopi
denied or failed to respond to a Navajo application for a development project
in the Bennett Freeze Area.

       Between July 1980 and August 1982, the Navajo submitted several
public works project applications to the Hopi. The Hopi granted consent for
a well in Tuba City, an electrical line at some of the Tuba City wells, and an
expansion of the Tuba City/Moenkopi landfill. Hopi consent to Navajo
development proposals suddenly ceased, however, following the Hopi Tribe’s
implementation of a development moratorium.

      On August 26, 1982, the Hopi Tribal Council wrote a letter to the
Western Navajo Agency Division of Social Services stating:

       The Hopi Negotiating Committee . . . unanimously voted to
       place a moratorium on any and all construction activities, more
       specifically within the Bennett Freeze Order Area (BFOA), until
       certain issues have been addressed satisfactorily surrounding
       current and potential construction activities in the litigated
       BFOA and the entire 1934 Reservation. The Committee has
       postponed the processing of all construction applications for the
       BFOA for an indefinite period which will allow the Hopi Tribe
       to conduct a complete investigation on the matter.

Letter from Stanley Honahni, Chairman, Hopi Negotiating Commission, to
Calvin Nez, Caseworker, Division of Social Services, dated Aug. 26, 1982.

       At least eleven 4 Navajo requests for residential construction and repair
were pending at the time of the Hopi’s moratorium in August 1982.5 The Hopi



       4
           Plaintiff and defendant disagree on the number of pending requests.
       5
       Plaintiff concedes that it does not have standing to seek compensation
on behalf of individual Navajo tribal members. See Pl.’s Resp. at 2 n. 1

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Tribe did not give its consent to any of these individual Navajo projects. See
Def.’s Ex. 24 (“United States’ List of Navajo Nation Proposals”).

        Upon the implementation of the moratorium in 1982, the Hopi Tribe
began to monitor Navajo activity within the Bennett Freeze Area. In an effort
to ensure Navajo compliance with the moratorium, the Hopi posted notices on
individual Navajo residence sites considered to be in violation of the
moratorium. The Hopi considered renovations and repairs of individual
Navajo residences (called hogans) and the development of a water tank to be
illegal activity. Claims against the Hopi for harassment of Navajo residents,
impoundment of Navajo livestock, and destruction of individual hogans, also
arose as a result of the tribe’s moratorium enforcement efforts.

       A Hopi employee, Patrick Dallas, participated in aerial reconnaissance
over the freeze area as part of the Hopi enforcement effort. Mr. Dallas and
other Hopi employees circled helicopters over suspect Navajo structures and
then took photographs which they later used to conduct field visits. Some
Hopi field visits resulted in field trip reports of the structure being reviewed.

       By June 1986, concern regarding the Hopi moratorium had reached Mr.
Wilbur Wilkinson, DOI’s BIA Western Navajo Agency Superintendent. Mr.
Wilkinson wrote a letter to the DOI Assistant Secretary- Indian Affairs
regarding the moratorium:

       [A]ll activities in the Bennett Freeze Area need to be closely
       regulated to ensure compliance with existing regulations by each
       tribe . . . .

       ....

       . . . The Hopi Tribe has mercilessly pocket-vetoed nearly all
       Navajo requests requiring their consent. We request a review of
       the procedures established . . . on July 16, 1976, where the
       Commissioner will entertain and act upon requests which the
       Hopi Tribe has failed to respond to.

       ....




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       . . . The overriding duty of the Federal Government is to deal
       with Indian people, wherever located, and that is and will
       continue to be the policy of the Navajo area.

Memorandum from Wilber Wilkinson, BIA Superintendent, Western Navajo
Agency, to Asst. Secretary - Indian Affairs, dated June 17, 1986. In July, Mr.
Wilkinson followed up with a letter to the Hopi Agency Superintendent, Mr.
Alph Secakuku:

       [N]umerous complaints have been received by this office to the
       activities by Hopi Tribal employees in the 1934 Bennett Freeze
       Area. These employees are posting notices on Navajo homes
       and improvements with reference to the freeze requirements.

       We are requesting your assistance in stopping the issuance of
       these notices and any other Hopi Tribal activities . . . .

       If the Hopi Agency and the Hopi Tribe are concerned with a
       specific activity in the 1934 Executive Order Area, then contact
       should be made to this office to investigate.

       As a reminder, the Hopi Agency and the Hopi Tribe does not
       have jurisdiction in Western Navajo Agency and further
       activities of this nature may be construed as unlawful.

Letter from Wilber Wilkinson, BIA Superintendent, Western Navajo Agency,
to Alph Secakuku, Agency Superintendent, Hopi Agency, dated July 2, 1986.

       Mr. Wilkinson sent a letter on July 7, 1986, to the Western Navajo
Agency requesting a determination from the BIA and permission to “notify
local Navajo residents on . . . the Bennett Freeze Area that minor
improvements to their residence will not require Hopi consent . . . .”
Memorandum from Wilbur D. Wilkinson, Superintendent, Western Navajo
Agency, to William D. Back, Acting Field Solicitor, Navajo Area, dated July
7, 1986. In October 1986, another request for a BIA policy statement on the
issue of Navajo home repairs was submitted by the Western Navajo Agency.
As of 1988, however, BIA had not adopted any change in policy on the issue.

      BIA’s Hopi Agency Superintendent, Mr. Alph Secakuku, responded to
Mr. Wilkinson’s letters on July 9, 1986, stating that the Hopi Tribe has a “legal

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obligation to protect the interests of its citizens” and that in order to protect
Hopi interests, “tribal employees are in the area protecting the rights of the
Hopi Tribe by posting notices on Navajo improvements which have not
received Hopi Tribal consent . . . .” Letter from Alph Secakuku,
Superintendent, Hopi Agency, dated July 9, 1986.                   Mr. Secakuku
recommended that the Navajo obtain consent from the Hopi before attempting
further development in the Bennett Freeze Area to minimize “local agitation
and ill feelings.” Id. Mr. Secakuku concluded his letter by stating, “[a]s a
Federal government entity, the Bureau of Indian Affairs has a responsibility
to protect all Indian citizens under its jurisdiction in an impartial manner.” Id.

       BIA Agency Superintendents for the Western Navajo Agency and the
Hopi Agency met to discuss issues relating to development in the Bennett
Freeze Area on July 29, 1986, and submitted their joint proposal to the Area
Directors in the Navajo and Phoenix Areas. See Memorandum from Wilber
Wilkinson and Alph H. Secakuku, Agency Superintendents, Western Navajo
Agency and Hopi Agency, to Area Directors, Navajo Area and Phoenix Area,
dated July 29, 1986. The proposal stated, in part, that:

       A very key issue has arisen in the discussions on new
       construction procedures. The once established procedures by
       Commissioner Morrison Thompson in 1976 whereby a proposal
       for new development that did not receive consent of both tribes
       could after 30 (later 60) days be forwarded to the
       Commissioner’s Office for final consideration and
       determination. The procedure has not been specifically
       cancelled or superceded and it is our position that P.L. 96-305
       did not have the effect of replacing other prior administrative
       procedures relating to the 1934 SOA. We assume the Assistant
       Secretary for Indian Affairs will entertain development requests
       such as public work type projects where consent is not granted
       by both tribes.

       Both tribes need a clarification of what constitutes a new
       development requiring both tribe’s [sic] consent.

              ....

       Recommendation: Any maintenance or betterment would not
       require with [sic] tribe’s [sic] consent. Anything beyond

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       maintenance and/or betterment would require consent from each
       respective tribes [sic].

Id. The policy recommendations were not implemented.

        The Navajo Superintendent submitted a request to the Navajo Area
Director to implement clarifying policies on issues such as “new construction
procedures if Hopi Tribal consent is not attainable” as well as “the definition
of home improvements as it applies to existing homesite leases and residences”
on October 20, 1986. Memorandum from Agency Superintendent, Western
Navajo Agency, to Area Director, Navajo Area, dated Oct. 20, 1986. As late
as August 24, 1988, the Navajo Superintendent had not received a response to
this request.

        On August 15, 1988, Navajo Tribal Chairman Peter MacDonald
announced in a letter to the Navajo-Hopi Indian Relocation Commission that
he would begin a building and relocation campaign called “Project Hope” on
behalf of the Navajo residing in the Hopi Partitioned Lands (“HPL”) area and
in the Bennett Freeze Area, notwithstanding the 1980 Amendment restrictions:

       I am compelled by this reality to tell you that if I do not receive
       by August 25, 1988 the clearest possible commitment from the
       federal government to conduct the needed repairs and related
       construction, I will personally undertake to provide more
       suitable housing from [sic] those on the HPL, including
       resistors, and for those most in need on the Bennett Freeze, and
       especially to find housing, on the HPL itself if need be, for the
       refugee families who left the HPL but have no place else to go.
       I will spare no effort in this regard.

Sidney v. MacDonald, No. CIV 58-579, at 2 (1988). The United States
Department of Justice sought a preliminary injunction against Mr. MacDonald
and his building campaign on September 14, 1988. Id. On September 26,
1988, the district court issued an injunction. Id.

The 1988 Amendment to the 1974 Settlement Act

      Less than two months later, on November 16, 1988, Congress amended
the 1974 Settlement Act again. Navajo and Hopi Indian Relocation
Amendments Act of 1988, Pub. L. No. 100-666, § 6, 102 Stat. 3929

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(amending 25 U.S.C. § 640d-9(f)) (“1988 Amendment”). The amendment
stated in relevant part:

       Each Indian tribe which receives a written request for the
       consent of the Indian tribe to a particular improvement,
       construction, or other development on the lands . . . shall
       respond in writing to such request by no later than the date that
       is 30 days after the date on which the Indian tribe receives the
       request. If the Indian tribe refuses to consent . . . the response
       shall include the reasons why consent is being refused.

       ....

               [A]fter the Navajo Tribe or Hopi Tribe has refused to
       consent to such improvement, construction, or development . .
       . the Secretary shall, by no later than the date that is 45 days
       after the date on which such request is submitted to the
       Secretary, determine whether [it] is necessary for the health or
       safety of . . . either Tribe.

Id. The 1988 Amendment thus created an appeals mechanism within DOI for
tribes to challenge project application denials.

       On July 8, 1991, Attorney General of the Navajo Nation, Ms. Donna M.
Christensen, wrote a letter to the DOI Asst. Area Director for Indian Programs,
stating, “[p]lease be advised that the Hopi Tribe has been posting residents of
the Bennett Freeze area for making any repairs of existing structures.” Letter
from Donna M. Christensen, Attorney General, Navajo Nation Department of
Justice, to DOI Assistant Area Director, dated July 8, 1991. In March 1992,
the Hopi Tribe wrote in a letter to Mr. Roman Bitsuie, Executive Director of
the Navajo-Hopi Land Commission, that “the Hopi Tribe’s position is, and
always has been, that the construction restrictions imposed by 25 U.S.C. §
640d-9 apply to repairs and renovations of existing structures” and that “the
Hopi Tribe will bring appropriate legal action if such activities occur.” Letter
from Patrick Dallas, Vice-Chairman, Hopi Tribe, to Roman Bitsuie, Executive
Director, Navajo-Hopi Land Commission, dated March 16, 1992.

       On July 27, 1993, Attorney General of the Navajo Nation, Mr. Herb
Yazzie, testified to the Subcommittee on Interior Appropriations of the United
States Senate regarding the Navajo-Hopi land dispute. See Supplemental

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Statement of Herb Yazzie, Attorney General of the Navajo Nation, to the
Subcommittee on Interior Appropriations, United States Senate, dated July 17,
1993. Regarding the 1988 Amendment, he stated, “[a]fter 1988, denials were
generally phrased in terms of the Hopi Tribe’s policy against approving any
request not meeting the strict criteria of the ‘health and safety’ amendment.”
Id. Mr. Yazzie continued by giving a list of individual Navajo projects which
the Hopi denied “applying its own unilaterally-decreed standard of ‘direct
medical necessity.’” Id.

        On June 6, 1997, Department of Health & Human Services (“Indian
Health Services”) sought assistance from the Executive Director of the Navajo
and Hopi Land Commission, Mr. Colbert Dayzie, in obtaining an easement for
water lines to complete a water supply and waste-water project for which it
had acquired funding in 1994. Letter from C. Lewis Fox, Jr., Chief, Sanitation
Facilities, Navajo Area Indian Health Services, to Colbert Dayzie, Executive
Director, Navajo and Hopi Land Commission, dated June 6, 1977. The Indian
Health Services letter stated:

       In late 1992, when the Freeze area was partitioned, we were able
       to begin funding projects which we had suppressed in our
       priority system because of the land dispute. Now, as we
       understand it, the Hopi Tribe still has legitimate concerns in
       areas partitioned for exclusive Navajo use. If we are unable to
       get a Grant of Easement in a timely manner, we will deobligate
       funding from the projects (approximately $1.6 million and
       service to 250 existing homes) and move the funding to projects
       outside the Former Freeze Area.

Id. The easement was not timely granted to Indian Health Services and
funding for the project was deobligated.

        On March 31, 1997, the district court entered an order confirming a
partial settlement agreement between the Hopi and the Navajo regarding the
Bennett Freeze Area lands. Secakuku v. Hale, No. CIV 74-842 PCT EHC
ORDER (1997). This settlement agreement, however, left 700,000 acres of
land still subject to the 1980 Amendment restrictions. Joint Status Report ¶ 4,
at 3 (Oct. 1, 1997). It was not until December 4, 2006 that the order and final
judgment approving a stipulation between the Navajo and the Hopi was
entered by the district court, lifting the freeze in its entirety, and resolving the



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land dispute between the tribes. Honyoama v. Shirley, No. CIV 74-842 PHX
EHC (2006).


                         PROCEDURAL HISTORY

       Plaintiff filed its claim here on August 25, 1988, shortly before the
enactment of the 1988 Amendment. Defendant filed a motion to dismiss on
April 7, 1989. That motion was denied on March 28, 1990, although we
permitted plaintiff to file an amended complaint, which plaintiff subsequently
did on June 29, 1990.

        The amended complaint sought relief for three distinct claims: (1)
constitutional taking without just compensation, (2) breach of trust, and (3)
denial of equal protection. Plaintiff attributed these claims primarily to
defendant’s prohibition on Navajo development of “their land except with the
consent of . . . the Hopi Tribe.” Pl.’s Amend. Cmpl. at 1. Plaintiff argued that
the claim commenced sometime after the beginning of the Hopi moratorium
in August 1982, stating that “[t]he restrictions imposed by defendant, and its
unlawful delegation of federal police power, are a continuing taking of
plaintiff’s property without just compensation” as well as a breach of trust and
a denial of the tribe’s equal protection rights under the Fifth Amendment of the
U.S. Constitution. Id.

       From 1990-1993, the parties conducted discovery and submitted status
reports apprising the court of the ongoing district court litigation concerning
ownership of lands covered by the 1980 Amendment. In March, 1996,
defendant filed a motion for summary judgment. Judge Roger B. Andewelt
granted summary judgment for defendant as to the equal protection claim, but
denied it with respect to the two remaining claims. The case was stayed in
1997 pending resolution of the district court litigation.

        In 2001, the case was reassigned to the undersigned judge. In 2006,
the district court litigation concluded. In February 2008, we lifted the stay and
defendant filed its pending motion to dismiss, or alternatively, for summary
judgment. Briefing on the motion concluded on December 1, 2008, and oral
argument was heard in Albuquerque, New Mexico on January 8, 2009. For the
reasons discussed below, defendant’s motion is granted in part.




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                                 DISCUSSION

        Defendant contends that the six-year statute of limitations set forth in
28 U.S.C. § 2501 bars both of plaintiff’s claims. In the alternative, defendant
argues that the breach of trust claim fails to state a claim because it is not
grounded on a specific, money-mandating fiduciary obligation and that
plaintiff’s taking claim has a number of fatal conceptual problems.

       Plaintiff’s breach of trust and taking claims both have their origin in the
1980 Amendment, which codified the Bennett Freeze. The breach of trust
argument is premised on DOI’s alleged misinterpretation of that legislation.
Plaintiff contends that it is the government’s post-1982 failure to keep the
Hopi from interfering with the Navajo’s rights which constitutes the breach of
trust. The taking claim, as we understand it, alleges that the 1980 legislation
made possible the subsequent taking of Navajo tribal property by the Hopi
Tribe. Although the complaint was filed in 1988, plaintiff contends that the
taking claim did not ripen until at least 1982, with the Hopi moratorium. From
that point, it contends, a continuing claim has accrued until 2006.

      Both claims are subject to a six-year limitations period. See 28 U.S.C.
§ 2501. Defendant contends that plaintiff has not alleged that the government
has done anything after August 25, 1982, and that both claims are therefore
untimely.

        Plaintiff’s explanations for why these claims are not untimely further
calls into question their substantive underpinnings. Consequently, resolving
the timeliness issue becomes virtually impossible to separate from the question
of whether plaintiff has stated a cause of action in either breach of trust or
taking. In the case of the breach of trust claim, we have to understand what
plaintiff alleges were the government’s duties to the tribe, and how and when
those duties were breached. Similarly, it is difficult to assess the taking claim
without better understanding what plaintiff asserts were its property rights, and
how and when they were taken. In short, we cannot conclusively rule on when
the causes of action accrued without better grasping the substance of the
claims.




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1) The Breach of Trust Claim

        The Indian Tucker Act provides general consent for Indian tribes to sue
the United States government in this court. See 28 U.S.C. § 1505. It does not,
however, create a substantive right to recover money damages against the
United States. Like any other claimant, an Indian tribe must demonstrate a
specific statutory or regulatory source of substantive law that can fairly be
interpreted as mandating compensation by the federal government. United
States v. Mitchell, 463 U.S. 206, 216-217 (1983) (“Mitchell II”). A general
trust relationship between the federal government and Indian tribes does not
create the “money-mandating” fiduciary duty contemplated by Mitchell II to
allow the recovery of damages. Id. at 225. Instead, a tribe must allege that the
government breached a specific fiduciary duty which has its source in
substantive law. Id. at 218-24.

        The federal government’s control or supervision of tribal assets is a key
factor in the analysis of whether a rights-creating or duty-imposing statute or
regulation exists. Id. It is not necessary that there be an explicit provision in
the law providing for money damages for breach of the legal duty. White
Mountain Apache Tribe v. United States, 537 U.S. 465, 474-75 (2003) (“White
Mountain Apache”). Where a trust relationship is created through control or
supervision given to the federal government, general trust law may then infer
that Congress intended to remedy a breach of the obligation. Id. at 477.

       Plaintiff assembles three sources of substantive law which it contends,
when considered together, create fiduciary obligations which can be enforced
through an action for money damages: (1) the four founding documents that
created or defined the Navajo reservation’s boundaries; (2) the Navajo-Hopi
Rehabilitation Act of 1950, codified at 25 U.S.C. § 631; and (3) the 1974
Settlement Act, codified at 25 U.S.C. §§ 640d to 640d-31, as amended in 1980.
According to plaintiff, these statutes create the trust obligation which plaintiff
claims was breached beginning in 1982, with DOI’s misinterpretation of the
1980 Amendment.

       Plaintiff asserts that the 1980 Amendment did not cover ordinary
repairs and routine maintenance of existing structures but merely regulated
new developments. Plaintiff therefore posits that interpreting the 1980
Amendment as limiting DOI’s authority and responsibility to protect Navajo
interests in the repair of existing structures “directly contravenes the express
language, purpose and intent of the 1980 Amendment.” Pl.’s Reply at 2.

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According to plaintiff, “the Department’s inaction, and, indeed, acquiescence
in the Hopi Tribe’s unwarranted actions gave rise to the Navajo Nation’s
breach of trust claim against the United States.” Id. at 3. Moreover, plaintiff
claims that DOI failed to maintain the status quo in the Bennett Freeze Area,
and therefore breached its trust relationship with the Navajo.

      We analyze below each of the statutes upon which plaintiff relies to
determine whether the statutes, taken individually or as a whole, impose a
money-mandating trust duty on DOI.

       a) Four Navajo Foundational Documents

         Plaintiff begins with the Treaty of Sept. 9, 1849, arts. I, IX, 9 Stat. 974;
the Treaty of June 1, 1868, art. II, 15 Stat. 667; the Executive Order of May 17,
1884; and the Act of June 14, 1934, 48 Stat. 960, as sources of law which
create a general trust relationship between the Navajo and the United States.
See Pl.’s Resp. at 27-32. These are the founding documents which defined and
expanded the Navajo reservation. Plaintiff concedes that the general trust
relationship created in these documents is “not, in and of itself, sufficient to
support the conclusion that there was a money-mandating obligation on the
part of the United States in the event it failed to properly discharge its duties
. . . .” Pl.’s Resp. at 27. This is consistent with the Federal Circuit decision in
Navajo Nation v. United States, which, when analyzing these same treaties and
executive orders, concluded that:

       [t]he substantive sources of law cited by the Nation contain
       explicit trust language. Because such language is necessary but
       not sufficient for an Indian Tucker Act breach of trust claim, we
       proceed to evaluate whether the network of statutes and
       regulations asserted by the Nation established specific fiduciary
       or other duties that can fairly be interpreted at mandating
       compensation for damages sustained.

501 F.3d 1327, 1341 (Fed. Cir. 2008) (quoting United States v. Navajo Nation,
537 U.S. 488, 506 (2003)).

       It is necessary, therefore, to proceed to the two other sources of
substantive law cited by plaintiff to determine whether one or both of these
statutes, in conjunction with the founding documents, establishes a specific
money-mandating fiduciary obligation on the part of the United States.

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       b) The Navajo-Hopi Rehabilitation Act of 1950

        Plaintiff cites the Navajo-Hopi Rehabilitation Act of 1950, 25 U.S.C.
§ 631 (“Rehabilitation Act”), as a part of the “network of statutes that
enumerate and impose upon the Department specific fiduciary duties for the
benefit of the Navajo Nation and its members.” Pl.’s Resp. at 31. The
Rehabilitation Act authorized and appropriated $500,000 for the Secretary of
the Interior to develop “a program of basic improvements for the conservation
and development of the resources of the Navajo and Hopi Indians, the more
productive employment of their manpower, and the supplying of means to be
used in their rehabilitation . . . .” 25 U.S.C. § 631. Plaintiff argues that the
DOI’s implementation of the Rehabilitation Act in the “1980 Amendment area
has been flatly inconsistent with Congress’s articulated goals and the fiduciary
standards it established and imposed upon the Secretary to implement.” Pl.’s
Resp. at 33.

        Defendant cites the Federal Circuit’s decision in Navajo Nation v.
United States, 501 F.3d at 1341, for the proposition that the Rehabilitation Act
is insufficient by itself as a money-mandating source of law. In Navajo
Nation, the Federal Circuit considered whether the Navajo “had a cognizable
money-mandating claim . . . against the United States for a breach of trust in
a lease of the Nation’s lands for coal mining.” Navajo Nation v. United States,
501 F.3d at 1329. Plaintiff Navajo Nation relied, inter alia, on the
Rehabilitation Act as the basis for its claim for relief. Navajo Nation v. United
States, 501 F.3d at 1341.

       While the Federal Circuit in Navajo Nation held that the government
had a duty pursuant to the Rehabilitation Act to “keep the Nation informed
regarding the development of its coal resources,” the court did not find that
this duty alone could be enforced through an action for money damages. Id.
Instead, it was in the Surface Mining Control and Reclamation Act of 1977
(“SMCRA”)6 that the Federal Circuit found the key duty of the Secretary of the
Interior, which was to “include and enforce terms and conditions requested by
the Nation” as well as to “provide the Nation with representation in a matter
related to coal mining operations.” Id. at 1347. The Federal Circuit



       6
         Pub. L. No. 95-87, 91 Stat. 445 (codified as amended in scattered
sections of 30 U.S.C.S.).

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acknowledged that the Rehabilitation Act “may contribute to the Nation’s
asserted network” but implicitly held that it did not on its own constitute the
money-mandating statute necessary for plaintiff’s recovery. Id. The Federal
Circuit cited common law trust duties, the Rehabilitation Act, and the SMCRA
as the network supporting a “cognizable money-mandating claim,” while
relying most heavily on SMCRA. Id. at 1349.

        Plaintiff’s claims in the current case are distinguished from Navajo
because here, there is no statute assigning specific management duties to the
government comparable to SMCRA. The founding documents and the 1980
Amendment to the 1974 Settlement Act, as we hold in our analysis below, do
not confer upon the federal government the comprehensive control necessary
to create a money-mandating fiduciary duty. The Rehabilitation Act therefore
fails to impose a rights-creating duty on the Secretary upon which plaintiff’s
claim can be founded.

       c) The 1974 Settlement Act, as Amended in 1980

         Congress enacted the 1974 Settlement Act for the purpose of providing
a method of settling the Hopi and Navajo Tribes’ competing land claims in the
JUA. Notably, the Act authorized the district court to partition the JUA, which
it did in 1979, by requiring tribes to move from lands partitioned to the other,
and by setting up a commission to pay for relocations. See 25 U.S.C. § 640d-
3; see also Clinton, 180 F.3d at 1084. The 1974 Settlement Act also permitted
the two tribes to sue one another in district court to resolve their dispute over
title to the 1934 Reservation Area. See 25 U.S.C. § 640d-7(a).

       Plaintiff points specifically to 25 U.S.C. § 640d-9(c), adopted as part
of` the 1974 Settlement Act. This provision addressed the relocation of
individuals between Hopi and Navajo portions of the reservation. It vested in
the Secretary of the Interior the authority to “take such action as may be
necessary in order to assure the protection, until relocation, of the rights and
property of individuals subject to relocation pursuant to this Act . . . or any
judgment of partition pursuant thereto . . . .” 25 U.S.C. § 640d-9(c). Whatever
obligations this provision creates, however, related to individuals subject to
relocation, not to the Navajo Tribe as a whole. Moreover, the Federal Circuit
affirmed that the relocation provisions of the 1974 Settlement Act did not
“evince Congressional intent to create a trust.” Begay v. United States, 865
F.2d 230, 231 (Fed. Cir. 1988).



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       d) The 1980 Amendment to the 1974 Settlement Act

         The 1980 Amendment to the 1974 Settlement Act, as previously
stated, was intended to “preserve the parties’ rights subject to a final
adjudication.” Masayesva, 816 F. Supp. at 1397. In relevant part, it provides:

       [a]ny development of lands in litigation pursuant to section 8 of
       this Act . . . shall be carried out only upon the written consent of
       each tribe except for the limited areas around the village of
       Moenkopi and around Tuba City. Each such area has been
       heretofore designated by the Secretary. ‘Development’ as used
       herein shall mean any new construction or improvement to the
       property and further includes public work projects, power and
       water lines, public agency improvements, and associated rights-
       of-way.

25 U.S.C. § 640d-9(f)(1). The question we must determine herein is whether
the 1980 Amendment created a trust duty in DOI to prevent the Hopi from
asserting its rights in the Bennett Freeze Area.

        Defendant argues that the plain language of the 1980 Amendment
grants authority over development decisions solely to the two tribes,
encouraging Indian tribal autonomy and releasing governmental control over
the Bennett Freeze Area in this respect. It contends that “[w]hen Congress
codified the consent requirement in 1980, it did not authorize the Department
of the Interior to review proposed development projects” and therefore did not
establish any additional fiduciary duties on the part of the federal government.
Def.’s Reply at 18. Plaintiff, however, argues that “the United States exercised
total control over [the land subject to the 1980 Amendment], either directly or
acting through its de facto agent, the Hopi Tribe.” Pl.’s Resp. at 26. Plaintiff
therefore posits that “the 1974 Settlement Act, as amended in 1980, embodies
the exact same type of control over the 1980 Amendment area that was
evidenced in Mitchell II and White Mountain Apache.” Pl.’s Resp. at 28.

       In Mitchell II, 463 U.S. at 206, the Supreme Court analyzed whether the
United States was financially accountable to the Quinault Indian Tribe for
breach of trust regarding mismanagement of the tribe’s forest resources. The
Court determined that the statutes and regulations at issue in the case “clearly
establish[ed] fiduciary obligations of the Government in the management and

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operation of Indian lands and resources” even though express trust language
did not exist. Id. at 225. Specifically, the Court noted that a section of the
statute it was reviewing mandated the Secretary of the Interior’s involvement
in the payment of timber proceeds to the Indian owners, consideration of the
best interest of the Indians, and “‘manag[ement of] the Indian forests so as to
obtain the greatest revenue for the Indians consistent with a proper protection
and improvement of the forests.’” Id. at 224. This “elaborate control over
forests and property belonging to Indians,” deemed the Court, implied the
existence of a fiduciary responsibility to the Indians beyond the minimum level
of general trust duties, and therefore established a basis for the Quinault
Indians to recover money damages for a breach of said responsibility. Id. at
225. In sum, the Court concluded that a money-mandating fiduciary duty may
be implied if, and only if, a fair interpretation of the statute creates a right to
ground a claim against the federal government for compensation. Id. at 217
(quoting U.S. v. Testan, 424 U.S. 392, 400 (1976)).

        In White Mountain Apache, 537 U.S. at 465, the Court analyzed a
statute granting the Secretary of the Interior rights to occupy buildings on
White Mountain Apache tribal lands using the “fair inference” test set forth in
Mitchell II. The Court reviewed the relevant statute to determine if it imposed
a money-mandating fiduciary duty upon the federal government to maintain
and preserve the buildings it used on the former Fort Apache Military
Reservation. Id. The Court concluded in the affirmative, noting that the
statutory language vested the United States with both general trust
responsibilities and “the discretionary authority to make direct use of portions
of the trust corpus.” Id. at 475. The statute subjected the trust property to the
authority and actual use of the Secretary of the Interior which, the Court
posited, allowed the United States to obtain “daily occupation, and . . . control
at least as plenary as its authority over the timber in Mitchell II.” Id.

        The present facts are clearly distinguishable from White Mountain
Apache and Mitchell II. The 1980 Amendment to the 1974 Settlement Act did
not confer on the federal government the type of control, authority, or resource
management responsibilities that the Court identified in those cases. The
Secretary of the Interior is mentioned only once in the 1980 Amendment, when
referring to lands “heretofore designated by the Secretary.” 25 U.S.C. § 640d-
9(f)(1). Indeed, it could fairly be observed that the statute had the opposite
import. Each tribe was left with apparently unfettered control of development
by the other. This is fully consistent with the incontestable fact that in 1974,
and again in 1980, ownership of the reservation lands was left unresolved.

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The 1980 Amendment’s total silence with respect to DOI’s role in
development decisions cannot fairly be construed as an assignment of
affirmative powers, much less duties, to stop the exercise of a veto by one
tribe.

        When interpreting a statute, we must look first to the language of the
statute, and attempt to “construe what Congress has enacted.” Duncan v.
Walker, 533 U.S. 167, 172 (2001). In the absence of “an ‘extraordinary
showing of contrary intentions,’” Sharp v. United States, 80 Fed. Cl. 422, 434
(2008) (citing Glaxo Operations UK Ltd. v. Quigg, 894 F.2d 392, 396 (Fed.
Cir. 1990)), we will presume that the plain language of the 1980 Amendment
expresses Congress’ intent to remove control from the DOI and place it in the
hands of the tribes with regard to development decisions. See Bull v. U.S., 479
F.3d 1365, 1377 (Fed. Cir. 2007). The “unambiguously expressed intent of
Congress” generally ends a discussion on legislative intent. Chevron, U.S.A.,
Inc. v. NRDC, Inc., 467 U.S. 837, 843 (1984).

       Reviewing the legislative history of the 1980 Amendment does not
reveal the necessary contrary intent of Congress. Indeed, in 1979, the Senate
added a section to an earlier draft of the bill which would have given DOI
review authority over proposed development projects denied by a tribe in the
Bennett Freeze Area. S. Rep. No. 96-373, at 7-9 (1979):

       [d]uring the pendency of litigation in the [district court] . . . any
       new use or development of the lands contained within [the
       Bennett Freeze area] . . . shall be carried out only upon the
       written consent of the two tribes or upon the written approval of
       the Secretary: Provided, That if the Secretary approves such use
       or development over the objection of one of the tribes, that tribe
       may petition the district court having jurisdiction over the
       litigation for an order or orders prohibiting such use or
       development, including an order staying any such use until such
       matter is finally resolved by the court. In reaching a final
       decision regarding such petition the court shall consider the
       matter de novo to determine whether the proposed use or
       development would adversely affect the ultimate legal right of
       either tribe to partition based on use of land.

Navajo and Hopi Indians Relocations Amendments Act of 1979, S. 751, 96 th
Cong. § 3(e) (Oct. 24, 1979). Five days later, however, the House of

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Representatives struck that language from the proposed legislation, and
inserted in its place the following:

      [a]ny development of lands in litigation pursuant to section 8 of
      this Act . . . shall be carried out only upon the written consent of
      each tribe except for the limited areas around the village of
      Moenkopi and around Tuba City. Each such area has been
      heretofore designated by the Secretary. ‘Development’ as used
      herein shall mean any new construction or improvement to the
      property and shall include placement of mobile homes and
      buildings on the property and further includes public work
      projects, power and water lines, public agency improvements,
      and associated rights-of-way.

Navajo-Hopi Relocation Act, H.R. 5262, 96th Cong. § 3(d) (Oct. 29, 1979).

       The final version of the 1980 Amendment adopted language strikingly
similar to H.R. 5262, which omitted DOI review powers. See Pub. L. No. 96-
305, 94 Stat. 929 (codified at 25 U.S.C. § 640d-9(f) (1980)):

      Any development of lands in litigation pursuant to section 8 of
      this Act . . . shall be carried out only upon the written consent of
      each tribe except for the limited areas around the village of
      Moenkopi and around Tuba City. Each such area has been
      heretofore designated by the Secretary. ‘Development’ as used
      herein shall mean any new construction or improvement to the
      property and further includes public work projects, power and
      water lines, public agency improvements, and associated rights-
      of-way.

Id. DOI review authority was not adopted until the passage of the 1988
Amendment. See Pub. L. No. 100-666, § 6, 102 Stat. 3929 (amending 25
U.S.C. § 640d-9(f)).

       It is clear that the 1980 Amendment did not grant authority to DOI to
intervene in Navajo-Hopi development decisions in the Bennett Freeze Area.
The statute did not strengthen DOI’s hand in reviewing Navajo development
proposals denied by the Hopi, and it was silent as to DOI’s role in the
administration of development-related issues on the Bennett Freeze Area. The



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1980 Amendment expressly vests that authority in the Hopi and the Navajo
Tribes.

       e) Conclusion

       In sum, none of the statutory components cited by plaintiff individually
impose a money-mandating fiduciary duty upon which its claim for relief may
be grounded. Nor do they collectively comprise a network of statutes which
assign sufficient trust management responsibilities to the government to
support a claim for money damages. The very ambiguity of the condominium
created by Congress in 1934 is illustrated by the continued vacillation by all
parties, over decades, about whether it was possible or proper to limit the Hopi
Tribe’s role in Navajo development. Such ambiguity is completely
inconsistent with fairly interpreting the statutes as a rights-creating source of
substantive law. The 1974 and 1980 statutes were Congress’ effort to end this
ambiguity. The litigation and the stay were remedies adopted by Congress to
end the stalemate. They are not grounds for an action in breach of trust suit
against DOI for failure to referee what was a mare’s nest of competing claims.

       What this means is that, even if DOI misinterpreted the 1980 statutory
language in some way, it was not assigned duties by that statute, or any
preceding statutes, separately or in concert, so that a breach of those duties
could be enforceable here with an action for money damages. We note, in any
event, as defendant points out, that the best evidence that DOI was not
misinterpreting the statute was the district court’s willingness in Sidney v.
MacDonald, No. CIV 58-579, to enjoin the Navajo from unilaterally
proceeding with its projects.

        It is thus unnecessary to examine the statute of limitations defense,
which raises disputed issues of fact. Defendant’s motion for summary
judgment is granted on the issue of plaintiff’s breach of trust claim. We now
turn to an analysis of plaintiff’s takings claim.

2) Regulatory Taking Claim

       The takings clause of the Fifth Amendment of the United States
Constitution, “nor shall private property be taken for public use, without just
compensation,” can be enforced in this court with a claim for compensation.
See U.S. Const. amend. V, cl. 4. In this case, the Navajo Tribe asserts that its
land has been, effectively, taken for public use because of the regulatory

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impact of the 1980 Amendment. See Penn Central Transportation Co. v. City
of New York, 483 U.S. 104 (1978). A successful claim of this sort would
require plaintiff first to establish that it has a property interest, and then that
the interest has been taken. Cienega Gardens v. United States, 331 F.3d 1319,
1328 (Fed. Cir. 2003).

       Plaintiff argues that “Congress recognized and vested, for the benefit
of plaintiff and its members, a compensable property interest in the 1934
Reservation lands, except for pockets of land on which the Hope Tribe can
prove its members were actually located in 1934.” Pl.’s Amend. Cmpl. ¶ 6.
Plaintiff recognizes, however, that in 1974, “Congress authorized the Hopi
Tribe to sue for a determination of its interest, if any, in the reservation
established by the 1934 Act.” Id. ¶ 7. While plaintiff argues that the vast bulk
of the 1934 grant was never meaningfully subject to a claim of Hopi
occupation, the effect of the 1974 Act, particularly when enforced by the 1980
Amendment, was to create a cloud on the Navajo’s ownership rights in the
entire area subject to the freeze, until the statutorily-authorized quiet title
proceeding was resolved. With hindsight, we now know that title was not
resolved until the litigation over ownership was settled in 2006.

        In its complaint, plaintiff identifies the 1980 Act as the source of the
restriction on the tribe’s ability to use its own land. It recognizes that the
“freeze statute has been in effect for almost ten years,” and that it was
preceded by “similar restrictions on development imposed by administrative
order in 1966.” Id. ¶ 11. Plaintiff goes on to argue, however, that the “freeze
statute, as applied, has prohibited development and construction of new
homes, sheds, corrals, roads, water lines, sewers, . . . businesses, and other
critical facilities needed by plaintiff and its members.” Id. ¶ 15 (emphasis
supplied). Plaintiff also contends that the “application of the freeze statute”
restricted repairs and renovations to such facilities. Id. (emphasis supplied).

       We interpret plaintiff’s claims as set forth in its amended complaint to
contend that the last affirmative action by the United States that could have
constituted a taking was Congress’ enactment of the 1980 Amendment.
Plaintiff argues, however, that DOI misinterpreted the 1980 Amendment to
permit the Hopi a more extensive veto than Congress contemplated. Plaintiff
also contends that “between 1982 [the Hopi moratorium] and the filing of this
lawsuit, virtually no development was approved by the Hopi Tribe. . . .” Id.
¶ 13. Plaintiff therefore claims that DOI’s policy of inaction in the protection



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of Navajo interests after the 1982 Hopi moratorium constituted a temporary
regulatory taking:

               From the plain language of the 1980 Amendment, it is
       clear that it was not a bar to development within the geographic
       area it governed, but instead permitted development so long as
       the Hopi Tribe consented. Had the Hopi Tribe acted reasonably
       and consented to projects after 1980, and recognized the rights
       and needs of the Navajo Nation and its members, no taking
       would have occurred. However, any hope that the Hopi Tribe
       would reasonably exercise its consent evaporated on August 31,
       1982, when the Hopi Tribe imposed its blanket development
       moratorium . . . .

              ....

              Here, where Congress specifically delegated the approval
       process to the Hopi Tribe, the deprivation of the Navajo
       Nation’s property interests was directly and substantially
       impacted by Congress itself. The United States is liable because
       the Hopi Tribe misused the very power granted to it by
       Congress, which resulted in the taking of the Navajo Nation’s
       property rights.

Pl.’s Resp. at 46, 57. In the alternative, plaintiff argues that its takings claim
accrued in December 2006 with the district court’s lifting of the Bennett
Freeze in its entirety.

         This explanation of plaintiff’s claim suggests at least four possible
flaws. First, plaintiff can only sue with respect to its own property interests,
i.e., the land it owns as a tribe. The scope of the claim, at a minimum, must be
limited in that respect. The tribe cannot recover compensation with respect to
the impact on individual member’s property. Plaintiff concedes this fact.

       The second problem is that the Hopi Tribe was the relevant actor in the
alleged taking, not the United States. The government’s last affirmative act
was Congress’ enactment of the 1980 Amendment, which confirmed the
Hopi’s rights to oppose Navajo development projects. Beyond 1980, it is the
United States’ failure to act that plaintiff alleges caused a taking. Takings, of
course, are founded on what the government did, not what it did not do. For

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the claim to have any viability, therefore, the Hopi would have to be treated as
agents of the United States, a proposition which defendant has challenged.

       This brings up the third problem with plaintiff’s taking claim–
timeliness. If the Hopi are not the agents of the United States, and if the last
relevant action of the United States occurred in 1980, then the action would
appear to be filed too late, unless there is some reason to delay the accrual of
the cause of action until at least 1982. Plaintiff, of course, asserts that the
claim did not accrue until the Hopi moratorium in 1982. Defendant contends,
however, that this alleged “damage” to plaintiff began to occur well before the
moratorium.

       The fourth and most fundamental question is whether plaintiff is able
to establish the necessary property ownership essential to a taking claim. The
essence of the status quo- arguably from the inception of the 1934 Act, but
certainly after 1974- is that neither tribe was able to assert with any finality
what it owned. The very reason for the implementation of the Bennett Freeze
and the 1980 Amendment was the intolerable ambiguity as to how much land
would have to be set aside for the Hopi. Before that problem was solved, the
Navajo could only assert its rights through litigation. Litigation was not
complete as of 1980, however, nor was it complete in 1982. Indeed, title to the
Bennett Freeze Area was not conclusively established between the tribes until
2006.

        The briefing heretofore, although extensive, has only addressed the first
three of these apparent difficulties with the taking claim. It has not addressed
the last question raised, namely, how plaintiff can assert a taking claim if the
very essence of the legislation which forms the basis of the claim precludes
any definitive assertion of the Navajo Tribe’s title to the land. Although
defendant points out in its briefing that plaintiff has not plead with particularity
what property interest it claims has been taken, the larger question raised by
the court has not been briefed. We therefore consider it appropriate to offer
plaintiff an opportunity to address the fourth potential flaw in its taking claim
prior to ruling on defendant’s motion.

       Accordingly, we defer ruling on defendant’s dispositive motion insofar
as it seeks dismissal of the taking claim. Plaintiff is directed to file a
supplemental brief, limited to ten pages of text, in which it responds to the
court’s concerns. Plaintiff may also address any other outstanding issues at the
same time. Defendant may file a sur-reply of comparable length.

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                               CONCLUSION

      For the reasons stated above, we grant defendant’s motion for summary
judgment with respect only to plaintiff’s breach of trust claim. We defer ruling
on defendant’s motion with respect to the takings claim. Plaintiff’s sur-
response brief on the takings claim shall be filed on or before March 27, 2009.
Defendant’s sur-reply shall be filed on or before April 10, 2009.

                                                  s/Eric G. Bruggink
                                                  ERIC G. BRUGGINK
                                                  Judge




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